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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         DETROIT DIVISION

EDWARD J. MCCAULEY,

       Plaintiff,

v.                                           Case No. 2:18-cv-11251-MAG-APP

FINANCIAL BSUINESS AND                       Honorable Judge Mark A. Goldsmith
CONSUMER SOLUTIONS, INC.
d/b/a FBCS,

        Defendant.


                  PLAINTIFF’S RESPONSE TO THIS
             HONORABLE COURT’S ORDER TO SHOW CAUSE

     NOW comes EDWARD J. MCCAULEY (“Plaintiff”), by and through his

attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), in response to this Honorable

Court’s Order To Show Cause (Dkt. #7), and in support thereof, stating as follows:

                         I.   FACTUAL BACKGROUND

       1. On April 20, 2018, Plaintiff filed his Complaint for Relief Pursuant to the

          Fair Debt Collection Practices Act (“FDCPA”), the Telephonic Consumer

          Protection Act (“TCPA”), and the Michigan Occupational Code (“MOC”).

          The basis of Plaintiff’s Complaint is that Defendant violated the FDCPA,

          the TCPA, and the MOC through its collection activities. Chiefly, Plaintiff

          alleges that Defendant engaged in impermissible collection activity against
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        him through incessant collection calls to his cellular phone via an

        Automated Telephone Dialing System (“ATDS”) after being told to stop.

     2. On April 24, 2018, this Honorable Court issued a Summons for Defendant

        (Dkt. #5).

     3. On September 5, 2018, this Honorable Court issued an Order to Show

        Cause to Plaintiff why the instant action should not be dismissed for failure

        to prosecute.

     4. In response to this Honorable Court’s September 5, 2018 Order to Show

        Cause, Plaintiff promptly effectuated service on Defendant by serving

        Defendant’s registered agent on September 6, 2018.

     5. On September 7, 2018, Plaintiff filed an executed Certificate of Service

        (Dkt. #8).

     6. Defendant’s responsive pleading is currently due September 27, 2018.

                                II.   RESPONSE

    4. Due to an administrative error by Sulaiman, service of the Defendant was

       overlooked. This was completely the fault of Sulaiman and in no way was

       precipitated by Plaintiff.

    5. Sulaiman has robust policies and procedures in place to avoid these type of

       errors. Unfortunately, due to the integration of new staff, the policies and

       procedures were overlooked in this instance.
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     6. The undersigned counsel, on behalf of Sulaiman, sincerely apologies to this

          Honorable Court for the delay caused due to this error. Such delay is

          inexcusable and weighs very heavily on Sulaiman.

     7. Strong remedial measures have been taken and this issue has been address

          with all who hold a measure of responsibility. Specifically a support staff

          meeting took place to address avoiding such errors.

     8. Once learning of the error Sulaiman strove to address the issue within 24

          hours.

     9. Sulaiman and the undersigned counsel realize the extremely limited

          resources of this Honorable Court and the unnecessary burden delays such

          as this cause.



   WHEREFORE, Plaintiff, EDWARD J. MCCAULEY, respectfully requests that

this Honorable Court continue to exercise jurisdiction over and administer the instant

action.




Dated: September 19, 2018                     Respectfully Submitted,


                                              s/ Nathan C. Volheim
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                      CERTIFICATE OF SERVICE

     The undersigned, one of the attorneys for Plaintiff, certifies that on
September 19, 2018, he caused a copy of the foregoing PLAINTIFF’S RESPONSE
TO THIS HONORABLE COURT’S ORDER TO SHOW CAUSE, to be served by
U.S Certified Mail, postage prepaid, to:


               Financial Business and Consumer Solutions, Inc.
                 c/o CSC Lawyers Incorporating Service, RA
                              601 Abbot Road
                       East Lansing, Michigan 48823

               Financial Business and Consumer Solutions, Inc.
                   330 South Warminister Road, Suite 353
                         Harboro, Pennsylvania 19040



                                               s/ Nathan C. Volheim
                                               Nathan C. Volheim, Esq.
